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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


        v.                                                            DECISION AND ORDER
                                                                          13-CR-83S (1)
ONEIL QUINONES,

                                Defendant.


                                         I. INTRODUCTION

        Presently before this Court is Defendant Oneil Quinones’s Motion for

Compassionate Release, which the government opposes.                      See 18 U.S.C. § 3582

(c)(1)(A). For the reasons discussed below, Quinones’s motion is denied.

                                         II. BACKGROUND

        On December 22, 2016, Quinones pleaded guilty to conspiring to possess with

intent to distribute, and to distribute, 1 kilogram or more of heroin, in violation of 21 U.S.C.

§ 846. (Docket Nos. 472, 474.) Approximately six months later, on June 12, 2017, this

Court sentenced Quinones to 210 months’ imprisonment, 5 years’ supervised release, a

$100 special assessment, and no fine, fees or costs, which was consistent with the

sentencing provision in Quinones’s plea agreement that called for imposition of an

agreed-upon 210-month sentence pursuant to Rule 11 (c)(1)(C) of the Federal Rules of

Criminal Procedure. (Docket Nos. 472, 577, 579.) Quinones is presently serving his

sentence at FCI Elkton, with a release date of June 23, 2028. 1

        On June 22, 2020, Quinones filed a pro se motion for compassionate release


1 See https://www.bop.gov/inmateloc/ (last visited August 4, 2020).




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under 18 U.S.C. § 3582 (c)(1)(A)(i). (Docket Nos. 677, 690.) He contends that such relief

is warranted because he is at heightened risk to develop COVID-19 while incarcerated

due to his medical conditions. The government opposes the motion. (Docket No. 683.)

                                         III. DISCUSSION

A.      Compassionate Release under 18 U.S.C. § 3582 (c)(1)(A)(i)

        “A court may not modify a term of imprisonment once it has been imposed except

pursuant to statute.” United States v. Gotti, 433 F. Supp. 3d 613, 614 (S.D.N.Y. 2020).

One such statute is 18 U.S.C. § 3582 (c)(1)(A)(i) which, as amended by the First Step Act

of 2018, 2 provides as follows:

                The court may not modify a term of imprisonment once it has
                been imposed except that—in any case—the court, upon
                motion of the Director of the Bureau of Prisons, or upon
                motion of the defendant after the defendant has fully
                exhausted all administrative rights to appeal a failure of the
                Bureau of Prisons to bring a motion on the defendant’s behalf
                or the lapse of 30 days from the receipt of such a request by
                the warden of the defendant’s facility, whichever is earlier,
                may reduce the term of imprisonment (and may impose a term
                of probation or supervised release with or without conditions
                that does not exceed the unserved portion of the original term
                of imprisonment), after considering the factors set forth in
                section 3553 (a) to the extent that they are applicable, if it finds
                that—(i) extraordinary and compelling reasons warrant such
                a reduction; . . . and that such a reduction is consistent with
                applicable policy statements issued by the Sentencing
                Commission.

        The defendant carries the burden of showing that he or she is entitled to a sentence

reduction under the statute. See United States v. Ebbers, 432 F. Supp. 3d 421, 426-27



2 Congress amended 18 U.S.C. § 3582 (c)(1)(A) in the First Step Act of 2018 to allow prisoners to bring

their own motions for compassionate release after proper exhaustion. See Pub. L. No. 115-391, 132 Stat.
5194, 5222 (2018). The previous version of the statute permitted only the Bureau of Prisons to bring
compassionate-release motions. See, e.g., United States v. Monzon, No. 99 Cr. 157, 2020 WL 550220, at
*1 n.1 (S.D.N.Y. Feb. 4, 2020) (explaining the First Step Act amendment); United States v. Gotti, 433 F.
Supp. 3d 613, 614-15 (S.D.N.Y. 2020) (same).

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(S.D.N.Y. 2020). A defendant proceeding on his or her own motion may meet that burden

by demonstrating (1) that he or she satisfied the statutory exhaustion requirement, (2)

that extraordinary and compelling reasons exist for a sentence reduction, and (3) that a

sentence reduction is consistent with the applicable Sentencing Guidelines provisions.

See 18 U.S.C. § 3582 (c)(1)(A)(i); United States v. Perez, 17 Cr. 513-3 (AT), 2020 WL

1546422, at *2 (S.D.N.Y. Apr. 1, 2020). If the court finds, after consideration of the

applicable 18 U.S.C. § 3553 (a) factors, that the defendant has met this burden, it may

reduce the defendant’s sentence under the statute. See 18 U.S.C. § 3582 (c)(1)(A)(i);

see also United States v. Gileno, No. 3:19-CR-161-(VAB)-1, 2020 WL 1307108, at *1-2

(D. Conn. Mar. 19, 2020).

        The statutory exhaustion requirement is mandatory and “must be strictly enforced.”

United States v. Monzon, No. 99 Cr. 157, 2020 WL 550220, at *2 (S.D.N.Y. Feb. 4, 2020)

(citing Theodoropoulos v. I.N.S., 358 F.3d 162, 172 (2d Cir. 2004)); United States v.

Cassidy, 17-CR-116S, 2020 WL 1969303, at *3-8 (W.D.N.Y. Apr. 24, 2020) (finding

exhaustion mandatory). The exhaustion requirement is met when the earlier of two

circumstances occurs: (1) the defendant fully exhausts all administrative rights to appeal

a failure of the Bureau of Prisons to bring a motion to modify an imposed term of

imprisonment on his or her behalf, 3 or (2) 30 days lapse from the date the warden of the


3 The Scparta court explained the administrative process before the Bureau of Prisons as follows:


                First, an inmate must request the warden of her facility to file a
                compassionate-release motion on her behalf. 28 C.F.R. § 571.61 (a).
                Second, if the warden denies the prisoner’s request, she has 20 days to
                appeal to the BOP’s Regional Director. Id. § 571.63 (a) (providing that
                denials of compassionate-release requests are governed by the BOP’s
                general Administrative Remedy Program, contained in 28 C.F.R. §§
                542.10-542.19); id. § 542.15 (a) (“An inmate who is not satisfied with the
                Warden’s response may submit an Appeal on the appropriate form (BP-
                10) to the appropriate Regional Director within 20 calendar days of the

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defendant’s facility receives the defendant’s request to file such a motion on his or her

behalf. See 18 U.S.C. § 3582 (c)(1)(A).

       Congress delegated to the Sentencing Commission the task of “describ[ing] what

should be considered extraordinary and compelling reasons for sentence reduction”

under 18 U.S.C. § 3582 (c)(1)(A)(i). See 28 U.S.C. § 994 (t). The Commission, in turn,

promulgated a Policy Statement concerning sentence reductions under 18 U.S.C. § 3582

(c)(1)(A) in § 1B1.13 of the United States Sentencing Guidelines. The Commentary to

that section contains four examples of circumstances that constitute “extraordinary and

compelling reasons” for a sentence reduction: “Medical Condition of the Defendant”; “Age

of the Defendant”; “Family Circumstances”; and “Other Reasons”.                      See U.S.S.G. §

1B1.13.

       At issue here are the “Medical Condition of the Defendant” and “Other Reasons”

examples. The “Medical Condition of the Defendant” example provides as follows:

               Medical Condition of the Defendant—

                   (i)     The defendant is suffering from a terminal illness
                           (i.e., a serious and advanced illness with an end of
                           life trajectory).    A specific prognosis of life
                           expectancy (i.e., a probability of death within a
                           specific time period) is not required. Examples
                           include metastatic solid-tumor cancer, amyotrophic
                           lateral sclerosis (ALS), end-stage organ disease
                           and advanced dementia.

                   (ii)    The defendant is—

                           (I)     suffering from a serious physical or medical

               date the Warden signed the response.”). Third, if the Regional Director
               denies the prisoner’s request, she then has 30 days to appeal to the BOP
               General Counsel. Id. § 542.15 (a). A decision from the General Counsel
               is the final step in the BOP’s Administrative Remedy Program, id., and
               therefore “constitutes a final administrative decision,” id. § 571.63 (b).

United States v. Scparta, 18-cr-578 (AJN), 2020 WL 1910481, at *7 (S.D.N.Y. Apr. 20, 2020).

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                                      condition,

                             (II)     suffering from a serious functional or
                                      cognitive impairment, or

                             (III)    experiencing deteriorating physical or
                                      mental health because of the aging process,

                 that substantially diminishes the ability of the defendant to
                 provide self-care within the environment of a correctional
                 facility and from which he or she is not expected to recover.

U.S.S.G. § 1B1.13 comment n. 1 (A).

        The “Other Reasons” example is a catch-all provision encompassing “an

extraordinary and compelling reason other than, or in combination with, the [other]

reasons described.” 4 Id. n. 1 (D).

        As it relates to the requirement that a sentence reduction be consistent with the

applicable Sentencing Guidelines provisions, U.S.S.G. § 1B1.13 is once again the

relevant provision. It provides that a court may reduce a sentence if, after consideration

of the 18 U.S.C. § 3553 (a) factors, it determines that

                 (1) (A) extraordinary and compelling reasons warrant the
                     reduction; or

                     (B) the defendant (i) is at least 70 years old; and (ii) has
                         served at least 30 years in prison pursuant to a
                         sentence imposed under 18 U.S.C. § 3559 (c) for the
                         offense or offenses for which the defendant is

4 The Bureau of Prisons has implemented a Program Statement to guide its own implementation of 18

U.S.C. § 3582 (c)(1)(A). See Bureau of Prisons Program Statement 5050.50, eff. January 17, 2019
(available at https://www.bop.gov/PublicInfo/execute/policysearch?todo=query# (last visited August 4,
2020)). This Court assumes without deciding that this Program Statement is non-binding as it relates to the
“Other Reasons” provision of U.S.S.G. § 1B1.13 comment n. 1 (D), and that it is therefore not constrained
by what the Director of the Bureau of Prisons might consider other extraordinary and compelling reasons
for sentence reduction. See, e.g., United States v. Marks, 03-CR-6033L, 2020 WL 1908911, at *5-7
(W.D.N.Y. Apr. 20, 2020) (finding that post-First Step Act, district courts are no longer bound by the specific
categories warranting sentence reduction identified by the Sentencing Commission in U.S.S.G. § 1B1.13,
including affording any deference to the Director for purposes of U.S.S.G. § 1B1.13 comment n. 1 (D)
(“Other Reasons”)).


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                     imprisoned;

              (2) the defendant is not a danger to the safety of any other
                  person or to the community, as provided in 18 U.S.C. §
                  3142 (g); and

              (3) the reduction is consistent with this policy statement.

See U.S.S.G. § 1B1.13.

        Finally, district courts have broad discretion in deciding whether to grant or deny

motions for sentence reduction. See Gileno, 2020 WL 1307108, at *2.

B.      Quinones’s Motion for Compassionate Release

        1. Exhaustion of Administrative Rights

        As indicated above, 18 U.S.C. § 3582 (c)(1)(A) contains a threshold exhaustion

requirement. To satisfy this requirement, a defendant must demonstrate that either (1)

he or she fully exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion to modify an imposed term of imprisonment on his or her behalf,

or (2) 30 days have lapsed from the date the warden of the defendant’s facility received

the defendant’s request to file such a motion on his or her behalf. See 18 U.S.C. § 3582

(c)(1)(A).

        For reasons discussed at length in two previous decisions (fully incorporated

herein), this Court has found that the statutory exhaustion requirement is mandatory and

cannot be excused. See Cassidy, 2020 WL 1969303, at *3-8; United States v. Schultz,

17-CR-193S, 2020 WL 1872352, at *3-6 (W.D.N.Y. Apr. 15, 2020); accord United States

v. Montanez, 15-CR-122-FPG, 2020 WL 2183093, at *2-11 (W.D.N.Y. May 5, 2020)

(finding § 3582 (c)(1)(A)’s exhaustion requirement mandatory).

        Here, Quinones submitted his request for compassionate release to the warden of



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FCI Elkton on April 9, 2020. (Docket No. 683-1.) The warden denied his request on April

27, 2020. (Docket No. 683-2.) Thirty days having lapsed since April 9, 2020, this Court

finds that Quinones has satisfied the statutory exhaustion requirement, and the

government does not contend otherwise.

      2. Extraordinary and Compelling Reasons for Sentence Reduction

      Quinones has served approximately 90 months of his 210-month sentence. He is

35 years old and claims to have multiple medical conditions, including Type II diabetes,

hypertension, and obesity, which he argues makes him highly susceptible to severe

illness from COVID-19. If released, Quinones plans to live with a relative in Tonawanda,

NY. (Motion for Compassionate Release, Docket No. 677, p. 5.)

      The government concedes that Quinones’s medical condition constitutes an

extraordinary and compelling reason for a sentence reduction.        In particular, it has

reviewed Quinones’s medical records from the Bureau of Prisons, which confirm that

Quinones has Type II diabetes. (Government Opposition, Docket No. 683, p. 6.) The

Presentence Report also confirms that Quinones suffers from Type II diabetes,

hypertension, and obesity. (Presentence Report, Docket No. 583, p. 2 and ¶¶ 92-94.)

The government agrees that Quinones’s diabetes alone is severe enough that it

substantially diminishes his ability to provide self-care in a prison environment and is a

condition from which he is not expected to recover, thus meeting the requirements for an

“extraordinary and compelling reason” under U.S.S.G. § 1B1.13 comment n. 1 (A)(ii)(I).

(Government Opposition, pp. 6-7.) Notably, however, Quinones has made no showing

that the Bureau of Prisons is unable to adequately treat his conditions.

      As for the “Other Reasons” section of U.S.S.G. § 1B1.13 comment n. 1 (D), which



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provides for relief if there exist extraordinary and compelling reasons for sentence

reduction other than (or in combination with) what is specifically prescribed, Quinones

argues that his medical conditions make him highly susceptible to contracting and dying

from COVID-19. See United States v. Resnick, 14 CR 810 (CM), 2020 WL 1651508, at

*7 (S.D.N.Y. Apr. 2, 2020) (considering compassionate-release request based on a

defendant’s high susceptibility to COVID-19 under the “catch-all” provision of U.S.S.G. §

1B1.13 comment n. 1 (D)).

       COVID-19 is the sweeping, potentially deadly, worldwide pandemic that required

the President of the United States to declare a national emergency on March 13, 2020.

The Centers for Disease Control and Prevention (“CDC”) has determined that individuals

with certain underlying medical conditions, particularly if not well controlled, are at high

risk for severe illness from COVID-19. 5 See Jones v. Wolf, No. 20-CV-361, 2020 WL

1643857, at *8 (W.D.N.Y. Apr. 2, 2020) (taking judicial notice that “for people of advanced

age, with underlying health problems, or both, COVID-19 causes severe medical

conditions and has increased lethality”) (quoting Basank v. Decker, 20 Civ. 2518 (AT),

2020 WL 1481503, at *3 (S.D.N.Y. Mar. 26, 2020)). Those medical conditions consist of

cancer,     chronic     kidney     disease,      chronic     obstructive     pulmonary       disease,

immunocompromised state, obesity (body mass index of 30 or higher), serious heart

conditions, sickle cell disease, and Type 2 diabetes melitus. 6 The CDC has also identified

medical conditions that might make an individual at increased risk for severe illness from



5 See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html (last
visited August 5, 2020).
6 See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html (last
visited August 5, 2020).


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COVID-19, including hypertension. 7           Quinones is therefore correct that his medical

conditions—Type II diabetes, hypertension, and obesity8—put him at increased risk of

severe illness from COVID-19.

        Some courts have found that inclusion in the high-risk category alone is enough to

constitute an extraordinary and compelling reason for a sentence reduction, see, e.g.,

United States v. Zukerman, 16 Cr. 194 (AT), 2020 WL 1659880, at *5 (S.D.N.Y. Apr. 3,

2020) (collecting cases), but this Court has not. Rather, it has found, and continues to

find, that the mere possibility of contracting a communicable disease such as COVID-19,

without any showing that the Bureau of Prisons will not or cannot guard against or treat

such a disease, does not constitute an extraordinary or compelling reason for a sentence

reduction under the statutory scheme. See United States v. Stevens, 04-CR-222S, 2020

WL 2393306, at *6 (W.D.N.Y. May 12, 2020); Korn, 2020 WL 1808213, at *6; see also

United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (“the mere existence of COVID-

19 in society and the possibility that it may spread to a particular prison alone cannot

independently justify compassionate release, especially considering BOP’s statutory role,

and its extensive and professional efforts to curtail the virus’s spread”); United States v.

Gagne, No. 3:18-cr-242 (VLB), 2020 WL 1640152, at *4 (D. Conn. Apr. 2, 2020) (denying




7 See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html (last
visited August 5, 2020).
8  The obesity risk factor applies to individuals with a body mass index of 30 or higher. See
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html#obesity. The last known information
concerning Quinones’s height and weight is that he is 5’9” and 289 lbs. (Presentence Report, p. 2.) This
gives Quinones a body mass index of 42.7, which places him well within the risk-factor range. See
https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/english_bmi_calculator/bmi_calculator.html
(last visited August 5, 2020).


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compassionate release where the defendant failed to show “that the [Bureau of Prisons]

cannot adequately manage the [COVID-19] pandemic or treat her to a reasonable

degree”); United States v. Eberhart, Case No. 13-cr-00313-PJH-1, 2020 WL 1450745, at

*2 (N.D. Cal. Mar. 25, 2020) (“[g]eneral concerns about possible exposure to COVID-19

do not meet the criteria for extraordinary and compelling reasons for a reduction in

sentence set forth in the Sentencing Commission’s policy statement on compassionate

release, U.S.S.G. § 1B1.13”); United States v. Zywotko, Case No. 2:19-cr-113-FtM-

60NPM, 2020 WL 1492900, at *2 (M.D. Fla. Mar. 27, 2020) (denying compassionate

release where “the BOP has implemented an action plan to mitigate the effect of COVID-

19 and prevent potential transmissions into and throughout its correctional facilities”);

Gileno, 2020 WL 1307108, at *4 (“Mr. Gileno has also not shown that the plan proposed

by the Bureau of Prisons is inadequate to manage the pandemic within Mr. Gileno’s

correctional facility, or that the facility is specifically unable to adequately treat Mr.

Gileno.”).

       The Bureau of Prisons has experience combatting infectious diseases and has

developed and implemented a multi-point plan to battle COVID-19. Preparations began

in early 2020 when the Bureau of Prisons instituted its Pandemic Influenza contingency

plan, specifically modified to fight COVID-19. 9 This plan is based on guidance and

directives from the World Health Organization, the Centers for Disease Control and

Prevention, and other related agencies. Under this plan, the Bureau of Prisons has

implemented quarantine and isolation protocols, restricted inmate transfers, reduced

overcrowding, limited group gatherings, employed screening procedures, and suspended


9 See https://www.bop.gov/coronavirus/overview.jsp#bop_covid-19_response (last visited August 5, 2020).




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visitation and tours. 10 These and other measures are constantly reassessed to further

mitigate the exposure and spread of COVID-19 among the federal prison population.

        While indications are that adherence to this plan has generally served Bureau of

Prisons facilities fairly well, FCI Elkton has been particularly hard hit by the pandemic,

with hundreds infected and nine inmate deaths. 11 See e.g., United States v. Schultz, 17-

CR-193S, 2020 WL 2764193, at *6 (W.D.N.Y. May 28, 2020) (discussing difficulties at

FCI Elkton); United States v. McIndoo, 1:15-CR-142 EAW, 2020 WL 2201970, at *4

(W.D.N.Y. May 6, 2020) (describing conditions at FCI Elkton as “dire”); Montanez, 2020

WL 2183093, at *1 (describing FCI Elkton as “particularly hard it by COVID-19”).

        But conditions at FCI Elkton appear to be improving, with increased testing, greater

access to hygiene and sanitizing supplies, expanded access to medical care, and

additional training helping to lower infection rates. See United States v. Montanez, 15-

CR-122G, 2020 WL 4218007, at *3-4 (W.D.N.Y. July 23, 2020) (recognizing improving

conditions at FCI Elkton); United States v. Tranter, No. 17-CR-22, 2020 WL 3841268, at

*4 (N.D. Ind. July 8, 2020) (noting progress at FCI Elkton). At present, there are 53 inmate

and 2 staff cases, a significant reduction since the facility’s first outbreak. 12 The newly

employed measures thus appear to be working.

        Consequently, although Quinones has demonstrated (and the government

concedes) that he falls firmly in the high-risk group, he has failed to show that FCI Elkton’s



10 See https://www.bop.gov/coronavirus/covid19_status.jsp (last visited August 5, 2020).


11 The conditions at FCI Elkton are the subject of a continuing class action suit.
                                                                                See, e.g., Wilson v.
Williams, Case No. 4:20-cv-794, 2020 WL 1940882, at *2 (N.D. Ohio Apr. 22, 2020) vacated by No. 20-
3447, 2020 WL 3056217 (6th Cir. June 9, 2020).

12 See https://www.bop.gov/coronavirus/ (last visited August 5, 2020).




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current plan and efforts to combat COVID-19 are inadequate or that the facility is unable

to adequately treat him if he falls ill. Consequently, this Court finds that Quinones fails to

demonstrate an extraordinary and compelling reason for a sentence reduction under

U.S.S.G. § 1B1.13 comment n. 1 (D) based on COVID-19.                 See United States v.

Robinson, Case No. 17-cr-318 (SRN/DTS), 2020 WL 4463363, at *7 (D. Minn. Aug. 4,

2020) (finding that the heightened risk of contracting COVID-19 at FCI Elkton does not

automatically justify compassionate release and collecting cases denying compassionate

release to FCI Elkton inmates); see also United States v. Gold, No. 15-CR-330, 2020 WL

2197839, at *1 (N.D. Ill. May 6, 2020) (finding that COVID-19 does not “warrant the

release of every federal prisoner with health conditions that make them more susceptible

to the disease”).

       3. Consideration of the § 3553 (a) Factors

       Notwithstanding Quinones’s serious medical conditions, this Court finds that

consideration of the § 3553 (a) factors outweighs any extraordinary and compelling

reasons for a sentence reduction (including Quinones’s qualifying Type II diabetes), and

that a reduction would severely undermine Quinones’s original sentence. See 18 U.S.C.

§ 3582 (c)(1)(A) (requiring consideration of the applicable § 3553 (a) factors); see also

Ebbers, 2020 WL 91399, at *7. The § 3553 (a) factors include, inter alia, the nature and

circumstances of the offense; the history and characteristics of the defendant; the need

for the sentence to reflect the seriousness of the offense, promote respect for the law,

provide just punishment, afford adequate deterrence, and protect the public from future

crimes by the defendant; and the need to avoid unwarranted sentencing disparities. See

18 U.S.C. § 3553 (a).



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      Quinones was a leader and member of the Loiza Boys gang, which was

responsible for the distribution of large quantities of heroin and cocaine in Buffalo, NY.

(Presentence Report, ¶¶ 9, 11, 29.) He and his cousin, Jorge Quinones, supplied multi-

kilogram quantities of heroin each month for distribution on the West Side of Buffalo and

used a vacant residence as a “stash house” to store and sell heroin. (Id. ¶ 11.) Quinones

himself sold heroin on multiple occasions. (Id. ¶¶ 12, 29.) In all, Quinones admitted that

his relevant conduct involved at least 10 but less than 30 kilograms of heroin. (Plea

Agreement, ¶ 5.)

      For this serious criminal activity, Quinones agreed to the imposition of the 210-

month sentence that he received. That is a fair, just, and reasonable sentence which, in

this Court’s view, would be severely undermined by a reduction to time served. Such a

reduced sentence would not reflect the seriousness of the offense, promote respect for

the law, provide just punishment, afford adequate deterrence, or protect the public from

future crimes by the defendant. See 18 U.S.C. § 3553 (a). Such a reduction would also

result in unwarranted sentencing disparities. Id. Accordingly, consideration of the § 3553

(a) factors outweighs any extraordinary and compelling reasons for a sentence reduction.

      4. Consistency of a Reduction with U.S.S.G. § 1B1.13

      Finally, this Court finds that a sentence reduction is not consistent with U.S.S.G. §

1B1.13. See 18 U.S.C. § 3582 (c)(1)(A) (requiring that any sentence reduction be

consistent with applicable policy statements issued by the Sentencing Commission);

U.S.S.G. § 1B1.13 (2). This inquiry requires a determination as to whether the defendant

poses a danger to the safety of any person or to the community if released.

      As indicated, Quinones was the leader of a significant drug-trafficking gang that



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used violence to further its drug activities. (Presentence Report, ¶ 9.) Quinones also has

a significant criminal history, including convictions for controlled substances offenses,

attempted criminal possession of a weapon, trespass, disorderly conduct, and driving

without a license. (Id. ¶¶ 57-64.) This Court therefore also finds that Quinones poses a

danger to the community if released.

                                    IV. CONCLUSION

         For all of the reasons stated above, this Court finds that compassionate release

and a sentence reduction under 18 U.S.C. § 3582 (c)(1)(A)(i) is not warranted.

Quinones’s motion will therefore be denied.

                                        V. ORDER

         IT HEREBY IS ORDERED, that Quinones’s Motion for Compassionate Release

(Docket No. 677) is DENIED.

         SO ORDERED.


Dated:         August 6, 2020
               Buffalo, New York
                                                          s/William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                       United States District Judge




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